                              Case 22-12884-LMI              Doc 69       Filed 09/15/23         Page 1 of 1




           ORDERED in the Southern District of Florida on September 14, 2023.




                                                                          Laurel M. Isicoff
                                                                          Chief United States Bankruptcy Judge
___________________________________________________________________________
                                          UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF FLORIDA
                                                   MIAMI DIVISION

           In re:                                                                    CASE NO.: 22-12884-LMI
           Gabriel Alvarez                                                           CHAPTER 13
                                         Debtor. /

                                ORDER SUSTAINING OBJECTION TO CLAIM #9-1 OF
                                    YAMAHA MOTOR FINANCE CORP DE #41

                    THIS CASE CAME before the Court on the consent calendar on September 12, 2023 upon the

           Debtor’s Objection to Claim #9-1 filed by Yamaha Motor Finance Corp (DE#41), and based upon the

           record, it is:

                    ORDERED as follows:


               1.        The Debtor’s Objection to Claim #9-1 is SUSTAINED.

               2.        That Claim #9-1 is STRICKEN AND DISALLOWED, and shall not receive any
                         payments from the Chapter 13 Estate.

                                                         (###)
           Submitted By:
           Law Offices of Patrick L Cordero, Esq.
           Attorney for Debtor(s).
           7333 Coral Way
           Miami, Florida 33155
           Tel: (305) 445-4855
           PATRICK L. CORDERO, ESQ.
           FL Bar No. 801992

           Patrick L. Cordero, Esquire is directed to furnish a conformed copy of this order to all interested parties.
